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                               Exhibit A
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      Lex Machina
      Copyright Litigation
      Report 2016




                                                          by Brian C. Howard, J.D./M.A.,
Published January 2017                      Legal Data Scientist & Director of Analytics Services
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                                                                          Lex Machina – Copyright Litigation Report           i

                                               Executive Summary
                                               Lex Machina’s Copyright Litigation Report demonstrates how Legal
                                               Analytics®can reveal trends and business strategies in copyright litigation.
                                               In today’s data-driven world, knowing these trends and strategies
                                               can provide concrete advantages in planning strategy and better
                                               understanding the cost/benefit trade-offs of litigation.

                                               This report, Lex Machina’s second comprehensive study of U.S.
                                               copyright litigation, breaks down the thousands of copyright cases filed
                                               in recent years to showcase how this data can be used to inform litigation
                                               strategy: from detailed analysis of different judicial districts useful
Lex Machina’s Copyright Litigation             to forum planning, to timing data on trial and injunctions that can
Report surveys and summarizes the key          drastically improve budgeting, as well as top parties and firms for firm
trends and insights over the last five         marketing and outside counsel selection. With extra charts focusing on
years.
                                               more recent trends, this report both supplements and expands on Lex
Based on the same data driving Lex             Machina’s first copyright report.
Machina’s platform, this report examines
district court filing rates, top parties and   The new data-driven, customized insights offered by Legal Analytics
firms, timing to remedy, case findings         work together with traditional legal research and hard-earned experience
and resolutions, and damages to show-          to give firms and companies an edge in litigation. For example, in
case the power of Legal Analytics .            settlement negotiations, legal research or experience may furnish case law
                                               limiting damages or setting an appropriate amount but Legal Analytics
                                               can quantify the likelihood, timing, and amount of previously granted
                                               damages, creating a stronger negotiating position and a more accurate
                                               understanding of the risks and exposure behind it.

                                               As anyone who has ever done legal research knows, a good search
                                               eliminates noise leaving one to focus on the relevant portion of the
                                               results. When it comes to copyright litigation, Lex Machina’s platform
                                               makes this easy: our automated processes separate copyright litigation
                                               by identifying anonymous internet file sharing allegations and tagging
                                               those cases, allowing users to easily include or exclude them with a single
                                               click. The dynamics of these file sharing cases differ so significantly from
                                               other copyright litigation that any analysis must separate them in order
                                               to provide meaningful insight.

                                               This report leverages that file sharing tag, excluding these cases from the
                                               body of the report and focusing on them only in a section at the end.
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            Key insights and areas of focus for traditional (excluding filesharing) copyright litigation
            include:
            		
            Districts
            •    Copyright litigation is heavily concentrated in the top districts: the Central District of California
                 had 4,412 cases from 2009 to 2016 Q3, 25.4% of all such cases, and the Southern District of
                 New York had 2,029 cases (11.7%) in the same timeframe.
            •    Since 2015, these two districts have only increased in popularity, with Central District of
                 California having 30.4% and the Southern District of New York 14.5% of the cases filed.
            Parties
            •    Top plaintiffs in copyright litigation include the music industry (Broadcast Music, Sony/ATV
                 Songs, Songs of Universal, Rondor Music International, EMI, and more), publishing (Warner-
                 Tamerlane), software (Microsoft), fashion (Coach), and fabrics (Star Fabrics).
            •    Several of the top plaintiffs in the more recently filed cases include: Live Face on Web LLC is a
                 video internet advertising firm, FameFlynet and BWP Media, both photo licensing entities, and
                 Design Basics LLC, a firm that licenses architectural house plans.
            •    Top defendants are primarily retailers (Ross Stores, TJX (TJ Maxx), Amazon, Burlington Coat
                 Factory, Rainbow USA, Wal-mart, J.C. Penny, Forever 21, Sears, Nordstroms, and Target), along
                 with music groups (Universal Music and Sony Music Entertainment), and publishing / education
                 (Pearson Education).
            Law Firms
            •    Law firms for plaintiffs include many firms unfamiliar to a national audience: Doniger
                 Burroughs, a California fashion, art, and entertainment boutique leads with an incredible 1,079
                 cases, more than double the next firm. Their leading clients include L.A. Printex Industries, Star
                 Fabrics, United Fabrics International, and Unicolors Inc.
            •    Defense-side law firms share more evenly, with Call & Jensen (205 cases) leading over Davis
                 Wright Tremaine (151 cases) and Greenberg Traurig (121 cases).
            •    In the more recently filed cases, Fox Rothschild (39 cases, a San Francisco firm) and Conkle
                 Kramer & Engel (35 cases, a Santa Monica firm) also appear after Call & Jensen and Davis
                 Wright Tremaine.
            Findings, Judgments, and Case Resolutions
            •    Fair use is overwhelmingly adjudicated on summary judgment; when the issue reaches trials more
                 often than not the result is a finding of “no fair use.”
            •    The Central District of California and the Southern District of New York have issued findings
                 in more cases on the issue of fair use than any other courts, although S.D.N.Y. has found fair use
                 more often than C.D.Cal.
            •    The majority of infringement cases finding infringement do so as a result of default, few other
                 findings are made as a result of default. While 12.1% of infringement cases finding infringement
                 happen via summary judgment, 4.7% happen at trial.
            •    When ownership / validity is successfully contested (resulting in a finding of no ownership
                 / invalidity), it’s at summary judgment in 70.4% of the cases, but at trial in only 12.8% of
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       the cases. More often than not, findings of ownership / validity happen as a result of consent
       judgment (50.0%).
   •   About a two thirds of cases end with settlement. Claimant wins are about 10 times as likely as
       claim defendants wins (20.9% vs 2.7%), driven largely by the number of default judgments.
   Timing
   •   The median time to temporary restraining order (TRO) is 8 days, for a preliminary injunction
       3.9 months, and for permanent injunction 14.4 months.
   Damages
   •   Few of the copyright cases filed ever reach damages. Of 17,994 cases terminated between 2009
       and 2016 Q3, 23.6% have reached a merits decision. Less than half of those generated an award
       of compensatory damages (9.0% of the cases filed), but only about 1.5% were not via default or
       consent judgments.
   •   Default judgments ($608m, 41.8% of damages awarded) and consent judgments ($509m,
       35.0% ) dominate damages for copyright infringement. Juries have awarded more damages than
       judges ($245m to $92m).
   •   Top parties winning damages are mainly movies and entertainment (Disney, Twentieth Century
       Fox, Columbia Pictures, Warner Brothers, Universal, Paramount Pictures, etc. along with one
       software company (Quantlab).
   Key insights into file sharing litigation include:

   •   File sharing cases comprised only a small fraction of the cases in 2011, then grew to outnumber
       other copyright cases around 2014-2015, and have declined in 2016 to represent only 38% of
       cases filed.
   •   File sharing cases are concentrated most highly in the Northern District of Illinois (1,299 cases
       since 2009), followed by the District of New Jersey (721 cases) and the District of Colorado (691
       cases). In 2016, the Eastern District of California has risen to become the favored district (with
       168 cases in the first three quarters of 2015).
   •   Malibu Media, an erotic website, leads the list of plaintiffs with 5,878 cases, more than 15 times
       as many cases as the next most litigious plaintiff. Other plaintiffs include movie production
       companies and music / recording companies. Although Malibu Media has filed fewer new cases
       in 2016 than in previous years, it remains the leading filer of file sharing cases.
   •   Maddox, Hoppe Hoofnagle & Hafey, Nicoletti & Associates, Schulz Law, Fiore & Barber, the
       Kotzker Law Group, Lipscombe, Eisenberg & Baker, and William Tabot all represent Malibu
       media and lead among plaintiff firms in file sharing cases.


   This report provides a starting point for understanding the impact of Legal Analytics on the
   business and practice of copyright law. It sheds light on the big trends in copyright litigation.
   But the full power of Legal Analytics is revealed when users engage with the platform to produce
   actionable and strategic insights tailored to their particular context and circumstance. When
   users have the ability to “twist the dials,” their results provide a competitive advantage in landing
   clients, winning cases, and closing deals by making data-driven decisions.
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                                                           Copyright Cases and File Sharing Cases

    Figure 1: Copyright and file sharing cases over time, Jan. 1, 2011 to Sept. 30, 2016


                                                                                                                                                 902                                          Case type
                          900                                                                                                                                                                   Other copyright cases
                                                                                                                                                                                                File Sharing
                                                                                                                                                          792
                          800


                          700
                                                                                                                             638                                                  628
                                619                                                                                                                                       612
                                                                                                                                                       605 626
                                                                                                         584                       567    631                                           613
                          600                                              570               568                                                                    574
                                               547                  555                                         555                   534                  601
                                                                                                   525
            Cases filed




                                                                                       505                                  563                                     555     510
                          500            529                  525                                                     525                         534
                                                      499                        491 449                       456
                                                                    428                                                                    471
                          400
                                                                                                                      391                                                               340
                                                                          378
                                                                                 337                     342
                          300
                                                                                                                                                                                  262
                          200
                                                     143
                                         107                  163
                          100                  116
                                 71
                            0
                                `11 Q1     `11 Q3          `12 Q1     `12 Q3        `13 Q1          `13 Q3 `14 Q1                 `14 Q3     `15 Q1        `15 Q3     `16 Q1        `16 Q3
                                                                                                     Quarter / Year




    Figure 2: Copyright and file sharing cases over time (pecentage), Jan. 1, 2011 to Sept. 30, 2016




    Note: All charts reflect copyright litigation in the U.S. District Courts.
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          A large proportion of copyright litigation consists of cases involving allegations of internet file
          sharing.

          File sharing cases are defined as copyright cases involving claims of infringement for
          BitTorrent/P2P file sharing brought against John Doe or anonymous defendants’ or their IP
          addresses or Internet Service Providers (ISP).

          These cases differ substantially from other, more traditional copyright litigation: they are
          often brought against large numbers of defendants, are distributed across districts differently,
          and have vastly different dynamic surround settlement and damages. Separating these two
          different kinds of cases allows practitioners to focus on the set they care about and exclude
          data from the other which may otherwise skew the analysis.

          File sharing cases comprised only a small fraction of the cases in 2011, then grew to
          outnumber other copyright cases around 2014-2015, and have declined in 2016 to represent
          only 38% of cases filed.

          Analysis of file sharing cases is confined to its own section at the end of this report; the rest of
          the report excludes these cases.




Note: Charts in this section reflect copyright cases filed January 1, 2011, to September 30, 2016.
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                                                                      Districts

    Figure 3: Top districts, by cases filed Jan. 1, 2009 to Sept. 30, 2016

             Rank    District

             1       C.D.Cal.                                                                                   4,412 cases


             2       S.D.N.Y.                                             2,029 cases


             3       N.D.Cal.                      741 cases


             4       S.D.Fla.              535 cases


             5       N.D.Ill.              534 cases


             6       M.D.Fla.             470 cases


             7       D.Nev.             384 cases


             8       E.D.N.Y.          370 cases


             9       D.N.J.            360 cases


             10      D.Mass.           340 cases


                                0       500           1000     1500    2000      2500     3000   3500   4000   4500       5000
                                                                                  Cases




                 Copyright litigation is heavily concentrated in the top districts: the Central District of
                 California had 4,412 cases from 2009 to 2016 Q3, 25.4% of all such cases, and the Southern
                 District of New York had 2,029 cases (11.7%) in the same timeframe. No other district
                 has had more than 1,000 cases filed since 2009. Since 2015, these two districts have only
                 increased in popularity, with Central District of California having 30.4% and the Southern
                 District of New York 14.5% of the cases filed.

                 The spikes in litigation have largely been driven by increases in the Central District of
                 California, although the most recent has occurred largely in the Southern District of New
                 York. In Q3 of 2012, Warner Brothers filed 41 cases. In contrast, the spike in Q2 2014 was
                 not driven by any single plaintiff.

                 Textile pattern litigation has risen greatly: looking at four leading plaintiffs in the space (Star
                 Fabrics, Unicolors, L.A. Printex, and United Fabrics Int’l.) case filings have increased: from
                 67 in 2011, 62 in 2012, 87 in 2013, and 106 in 2014, to 147 in 2015, and 139 in 2016
                 through September 30. Since 2009, these two parties have filed 749 cases. These companies
                 are generally represented by the Doniger Burroughs law firm, causing that firm to be the top
                 copyright plaintiffs firm as discussed below.


    Note: Charts in this section reflect copyright cases filed January 1, 2011, to September 30, 2016.
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Figure 4: Top districts (pie) by cases filed Jan. 1, 2009 to Sept. 30, 2016



                                                                                           370 cases
                                                                                                       340 cases
                                                                                              2.1%
                                                                              470 cases E.D.N.Y.         2.0%
                                                                                2.7%                    D.Mass.
                                                                               M.D.Fla.            360 cases
                                                                                         384 cases 2.1%
                                                                                             2.2%    D.N.J.
                                                                         535 cases          D.Nev.
                                                                           3.1% 534 cases
                                                                          S.D.Fla. 3.1%
                                                                                   N.D.Ill.
                                                                                                                                                                  7,222 cases
                                                                      741 cases                                                                                      41.5%
                                                                        4.3%                                                                                     Other districts
                                                                       N.D.Cal.




                                                                        2,029 cases
                                                                           11.7%
                                                                          S.D.N.Y.




                                                                                                    4,412 cases
                                                                                                       25.4%
                                                                                                      C.D.Cal.




Figure 5: Top districts over time, by cases filed Jan. 1, 2011 to Sept. 30, 2016



                                                                                                                      201                            198
                                                                                                                                                                                               District
                      200                                                                                                                                                                         C.D.Cal.
                                                                                                                                 185                               186                            N.D.Cal.
                                                                       183                                                                                                               182
                      180                                                                                                                                  183                                    N.D.Ill.
                                                                                                                                             164                          175 175                 S.D.Fla.
                      160                                                                    153                                                                                                  S.D.N.Y.

                      140   134                                                                    142          142
                                                        127                                                                                                                              129
                                                                 134
                                                                                       129                131
                      120
        Cases filed




                                                                             123                                                       124
                                           109                                                                                                                           110
                                                   112
                      100         103
                                                                                                                                                                                 106

                                                                 83
                       80                                                                            77    74
                                                                                                                      70                             72
                                                 61                                  58                                          61
                                                                                                                                                                    68
                       60                                  65                                                                                               63
                                                                                              58                60
                            49                                         55                                                                       55
                                     49     51
                       40                   33                          36
                                                                                                     32
                                                                                                                                       46      36 33
                                                                               37                          28   28    28
                                     25                   22                          24 22                                   23       24                   24     23            23
                            23                     19            19    16      27                               16 23                                19                    17            24
                       20                  26                                                                               18           19 23              22
                            14                                                               17           17            8                            17                                  14
                                                                                                                                                                                 16
                                     14     14            13 15         10 1213
                                                                                      15             13         13            12       14      12                  12
                                                                                                                                                                           15
                        0                          10                                                                                                       10

                            `11 Q1        `11 Q3        `12 Q1        `12 Q3        `13 Q1        `13 Q3 `14 Q1             `14 Q3          `15 Q1        `15 Q3        `16 Q1        `16 Q3
                                                                                                   Quarter / Year
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    Figure 6: Recent top districts by cases filed Jan. 1, 2015 to Sept. 30, 2016

             1          C.D.Cal.                                                                                                         1,263 cases


             2          S.D.N.Y.                                                        603 cases


             3          N.D.Cal.              155 cases


             4          S.D.Fla.              153 cases


             5          E.D.N.Y.          101 cases


                        M.D.Fla.          101 cases


             7          N.D.Ill.         99 cases


             8          D.Mass.         76 cases


             9          N.D.Tex.       74 cases


             10         D.N.J.         71 cases


                                   0   100        200     300       400    500      600      700   800      900     1000   1100   1200   1300    1400
                                                                                              Cases




    Figure 7: Recent top districts by cases filed Jan. 1, 2015 to Sept. 30, 2016


                                                                    76 cases 74 cases
                                                                      1.8%     1.8%
                                                        101 cases   D.Mass. N.D.Tex.
                                                          2.4%  99 cases          71 cases
                                                         M.D.Fla. 2.4%              1.7%
                                                                 N.D.Ill.          D.N.J.
                                              153 cases 101 cases
                                                3.7%      2.4%
                                               S.D.Fla. E.D.N.Y.
                                                                                                         1,452 cases
                                                                                                            35.0%
                                                    155 cases                                            Other districts
                                                      3.7%
                                                     N.D.Cal.




                                                   603 cases
                                                     14.5%
                                                    S.D.N.Y.




                                                                          1,263 cases
                                                                             30.4%
                                                                            C.D.Cal.
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                                                  Parties and Law Firms

Figure 8: Top plaintiffs by cases filed Jan. 1, 2009 to Sept. 30, 2016

         1       Broadcast Music, Inc.                                                                                            1,124 cases
         2       Sony/ATV Songs LLC                                                                         623 cases
         3       Warner-Tamerlane Publishing Corp.                                                462 cases
         4       Coach Services, Inc.                                                            441 cases
         5       Songs of Universal, Inc.                                                        438 cases
         6       Coach, Inc.                                                                  417 cases
         7       EMI Blackwood Music, Inc.                                                 373 cases
         8       Universal-Songs of Polygram International, Inc.                          352 cases
         9       EMI Virgin Songs, Inc.                                                  328 cases
         10      Star Fabrics Inc                                                        311 cases
         11      Righthaven LLC                                                        276 cases
         12      Rondor Music International, Inc.                                      263 cases
         13      BWP Media USA Inc.                                                   238 cases
         14      Microsoft Corporation                                            221 cases
         15      MJ Publishing Trust                                              207 cases
                                                                           0    200       400          600      800        1000   1200     1400
                                                                                                             Cases




Figure 9: Recent top plaintiffs by cases filed Jan. 1, 2015 to Sept. 30, 2016
         1       Broadcast Music, Inc.                                                                                             234 cases
         2       Sony/ATV Songs LLC                                                                            142 cases
         3       Star Fabrics Inc                                                                            133 cases
         4       Unicolors, Inc.                                                                        121 cases
         5       Live Face on Web, LLC                                                             99 cases
         6       Songs of Universal, Inc.                                                          97 cases
         7       Warner-Tamerlane Publishing Corp.                                               88 cases
         8       Rondor Music International, Inc.                                         70 cases
         9       EMI Blackwood Music, Inc.                                                68 cases
                 FameFlynet, Inc.                                                         68 cases
         11      BWP Media USA Inc.                                                     62 cases
         12      Design Basics, LLC                                                    56 cases
         13      Universal-Songs of Polygram International, Inc.                      52 cases
         14      Microsoft Corporation                                                50 cases
         15      EMI Virgin Songs, Inc.                                           42 cases
                 RICHARD N. BELL                                                  42 cases

                                                                           0     50              100          150          200      250
                                                                                                             Cases




Note: Charts in this section reflect copyright cases filed January 1, 2009, to September 30, 2016.
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    Figure 10: Top defendants (excluding John Doe and other unknown defendants) by cases filed Jan. 1, 2009 to
    Sept. 30, 2016

             1      Ross Stores Inc                                                                                          276 cases
             2      The TJX Companies, Inc.                                                         123 cases
             3      Amazon.com, Inc.                                                         84 cases
             4      Burlington Coat Factory Direct Corporation                           74 cases
             5      Rainbow USA, Inc.                                                   66 cases
             6      Universal Music Group, Inc.                                         65 cases
             7      Wal-Mart Stores, Inc.                                             58 cases
             8      Forever 21, Inc.                                               51 cases
                    Sears, Roebuck and Co                                          51 cases
             10     Pearson Education, Inc.                                        50 cases
             11     J.C. Penney Corporation, Inc.                                  47 cases
                    Nordstrom, Inc.                                                47 cases
                    Sony Music Entertainment Inc.                                  47 cases
             14     Sears Holdings Corporation                                    45 cases
                    Target Corporation                                            45 cases
                                                                          0      50          100        150   200      250    300
                                                                                                          Cases




    Figure 11: Recent top defendants (excluding John Doe and other unknown defendants) by cases filed Jan. 1,
    2015 to Sept. 30, 2016

             1      Ross Stores Inc                                                                                          115 cases
             2      Rainbow USA, Inc.                                                        37 cases
             3      The TJX Companies, Inc.                                                  36 cases
             4      Amazon.com, Inc.                                                     31 cases
             5      Citi Trends, Inc.                                                    30 cases
             6      Burlington Coat Factory Direct Corporation                        24 cases
             7      Rue 21, Inc.                                                      22 cases
             8      Zulily, Inc.                                                   20 cases
             9      National Stores Inc                                           18 cases
             10     Forever 21, Inc.                                              17 cases
                    Nordstrom, Inc.                                               17 cases
                    Wal-Mart Stores, Inc.                                         17 cases
             13     Apollo Apparel Group LLC                                     16 cases
                    Burlington Stores, Inc.                                      16 cases
                    Dillard's, Inc.                                              16 cases
                                                                          0      20          40         60       80   100    120     140
                                                                                                             Cases
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Figure 12: Top law firms representing plaintiffs, by cases filed Jan. 1, 2009 to Sept. 30, 2016


         1      Doniger Burroughs                                                                                                   1,079 cases
         2      Sanders Law                                                                   357 cases
         3      J Andrew Coombs Law Offices                                                  321 cases
         4      Righthaven                                                           230 cases
         5      Perkins Coie                                                       183 cases
         6      Jeong & Likens                                                     181 cases
         7      Johnson & Pham                                                     174 cases
         8      Shawn A. Mangano                                                  168 cases
         9      Dunnegan                                                         130 cases
         10     One                                                              128 cases
         11     Bryan Cave                                                      116 cases
                Harmon & Seidman                                                116 cases
         13     Dickinson Wright                                                115 cases
         14     Liebowitz Law Firm                                              108 cases
         15     Blakely Law Group                                               104 cases
                                                                        0        200          400         600   800         1000      1200 1400
                                                                                                            Cases




Figure 13: Recent top law firms representing plaintiffs, by cases filed Jan. 1, 2015 to Sept. 30, 2016


         1      Doniger Burroughs                                                                                                     462 cases
         2      Jeong & Likens                                                                    157 cases
         3      Sanders Law                                                                   120 cases
         4      Liebowitz Law Firm                                                          108 cases
         5      Higbee & Associates                                                45 cases
         6      Allen, Dyer, Doppelt, Milbrath & Gilchrist                        42 cases
                Bell & Kilada                                                     42 cases
         8      Garbarini FitzGerald                                              36 cases
         9      Newman Du Wors                                                   34 cases
         10     Duane Morris                                                     33 cases
         11     Schneider Rothman Intellectual Property Law Group                32 cases
         12     LaDue Curran & Kuehn                                             31 cases
         13     Harmon & Seidman                                                 30 cases
         14     Davis Wright Tremaine                                            29 cases
         15     One                                                              28 cases
                                                                            0          100          200        300          400         500
                                                                                                              Cases
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        The top plaintiffs in copyright litigation provide insight into the industries seeking enforcement of
        their copyrights: music (Broadcast Music, Sony/ATV Songs, Songs of Universal, Rondor Music
        International, EMI, and more), publishing (Warner-Tamerlane), software (Microsoft), fashion
        (Coach), and fabrics (Star Fabrics). Copyright infringement of the movie/film industry tends to
        occur over the internet, so these cases to fall under the ‘file sharing’ category. MJ Publishing Trust
        became Sony / ATV Publishing, and is jointly owned by Michael Jackson’s estate and Sony.

        In 2010, the leading plaintiff was Righthaven LLC, a company formed to pursue copyright
        infringement actions on behalf of newspapers and which gained notoriety by suing online posters
        of news clippings. In June of 2011, Chief U.S. District Judge for Nevada Roger Hunt held that
        Righthaven did not own the copyrights and lacked standing to bring its suits (Order on Motion to
        Dismiss, Case 2:10-cv-01356 Dkt. 116, D.Nev., June 14, 2011); the company was sanctioned shortly
        thereafter for misleading the courts. Righthaven collapsed and became insolvent later in 2011.

        Several of the top plaintiffs in the more recently filed cases include: Live Face on Web LLC (a video
        internet advertising firm) FameFlynet and BWP Media (both photo licensing entities) and Design
        Basics LLC (a firm that licenses architectural house plans).



           Top plaintiffs include companies in the music industry, software, and fashion. Broadcast
           Music has filed the most cases each year since 2009 except in 2010. Top defendants include
           retailers, music groups and publishers.

        Top defendants are primarily retailers (Ross Stores, TJX (TJ Maxx), Amazon, Burlington Coat
        Factory, Rainbow USA, Wal-mart, J.C. Penny, Forever 21, Sears, Nordstroms, and Target), along with
        music groups (Universal Music and Sony Music Entertainment), and publishing / education (Pearson
        Education).

        Law firms for plaintiffs include many firms unfamiliar to a national audience: Doniger Burroughs,
        a California fashion, art, and entertainment boutique leads with an incredible 1,079 cases, more
        than double the next firm. Their leading clients include L.A. Printex Industries, Star Fabrics, United
        Fabrics International, and Unicolors Inc. The Sanders law firm (357 cases) represents BWP Media
        USA and FameFlynet. The J Andrew Coombs Law Offices, another California firm, represents
        Disney, Warner Brothers, Twentieth Century Fox, and DC Comics among others, with 321 cases.
        The firm in tenth place, One, is not a typo but a law firm in Orange County specializing in IP and
        entertainment law. National plaintiff firms include Perkins Coie (183 cases) and Bryan Cave (116
        cases).

        Defense-side law firms share more evenly, with Call & Jensen (205 cases) leading over Davis Wright
        Tremaine (151 cases) and Greenberg Traurig (121 cases). In the more recently filed cases, Fox
        Rothschild (39 cases, a San Francisco firm) and Conkle Kramer & Engel (35 cases, a Santa Monica
        firm) also appear after Call & Jensen and Davis Tremaine Wright.
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 Figure 14: Top law firms representing defendants, by cases filed Jan. 1, 2009 to Sept. 30, 2016

         1      Call & Jensen                                                                                                   205 cases
         2      Davis Wright Tremaine                                                                             151 cases
         3      Greenberg Traurig                                                                       121 cases
         4      Levine Sullivan Koch & Schulz                                                       107 cases
         5      Fox Rothschild                                                                  97 cases
         6      Lewis Brisbois Bisgaard & Smith                                                94 cases
         7      Law Offices of S Calvin Myung                                                 90 cases
         8      Gordon & Rees                                                           78 cases
         9      Ezra Brutzkus Gubner                                                    77 cases
         10     Buchalter Nemer                                                         76 cases
                Resch Polster & Berger                                                  76 cases
         12     Kilpatrick Townsend & Stockton                                         75 cases
                Morgan Lewis & Bockius                                                 75 cases
         14     Pryor Cashman                                                          73 cases
                Sheppard Mullin Richter & Hampton                                      73 cases
                                                                 0            50              100         150                 200              250
                                                                                                     Cases




Figure 15: Recent top law firms representing defendants, by cases filed Jan. 1, 2015 to Sept. 30, 2016




         1      Call & Jensen                                                                                                       76 cases
         2      Davis Wright Tremaine                                                                  42 cases
         3      Fox Rothschild                                                                      39 cases
         4      Conkle Kremer & Engel                                                           35 cases
                Levine Sullivan Koch & Schulz                                                   35 cases
         6      Law Offices of S Calvin Myung                                            28 cases
         7      Greenberg Traurig                                                      26 cases
         8      Resch Polster & Berger                                                24 cases
                Tingley Law Group                                                     24 cases
                Wilson Elser Moskowitz Edelman & Dicker                               24 cases
         11     Ezra Brutzkus Gubner                                                 23 cases
                Kilpatrick Townsend & Stockton                                       23 cases
                Lewis Brisbois Bisgaard & Smith                                      23 cases
         14     Robins, Kaplan, Miller & Ciresi                                      22 cases
         15     Gordon & Rees                                                      19 cases
                Sheppard Mullin Richter & Hampton                                  19 cases

                                                                     0   10     20      30        40      50       60     70        80     90
                                                                                                       Cases
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                                                      Findings and Judgments
     Figure 16: Findings by judgment in cases terminated Jan. 1, 2009 to Sept. 30, 2016)
                                                                12.3% 1.4%                    Judgment Type
                                                                                                Consent Judgment
                                                                                                Default Judgment
                                   Ownership /     292                                50.0%     Judgment on the Pleadings
                                   Validity        cases      27.7%                             Summary Judgment
                                                                                                Trial
                                                                                                JMOL
                                                                   11.0%
                                                                    3.2% 2.4% 6.4%
                                                               12.8%            5.6%

                                   No Ownership 125
                                   / Validity   cases


                                                                         70.4%
                                                                      1.7%3.3%
                                                                11.7%          6.7%

                                   Fair Use                                                         Using Lex Machina, you
                                                   60 cases
                                   Defense                                                          can drill down into the data
                                                                                                    shown here for findings, judg-
                                                                           76.7%                    ments, and resolutions (as
                                                                       2.0% 3.9%                    well as the damages data in
                                                              33.3%                                 the next section) by any num-
                                   No Fair Use                                                      ber of other criteria, includ-
                                                   51 cases
                                   Defense
                                                                                                    ing judges or courts, parties,
                                                                                 66.7%              particular kinds of cases (e.g.
                                                                    4.7%                            cybersquatting or declara-
                                                                12.1%          19.0%
                                                               0.2%                                 tory judgment), law firms and
                                                   2,670                                            lawyers, various date ranges,
                                   Infringement
                                                   cases                                            and much more.

                                                                    66.2%
                                                                     0.8% 4.4% 3.6%
                                                               12.6%
                                                                                5.8%

                                   No              499
                                   Infringement    cases


                                                                       74.7%
                                                                      7.4%1.7% 7.4%

                                   License or
                                                   121
                                   Equitable
                                                   cases
                                   Defense


                                                                    81.8%
                                                                     1.5% 1.5%
                                                                17.9%

                                   No License or                                               For more on what a “finding”
                                   Equitable     67 cases
                                   Defense                                                     is, see the Data, Methology, and
                                                                                               Terminology section at the back of the
                                                                               80.6%
                                                                                               report!
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Figure 17: Judgment by findings in cases terminated Jan. 1, 2009 to Sept. 30, 2016)




         Consent Judgment                                      0.4% 3.9%                      Finding Type
                                                                           20.0%                  Ownership / Validity
                                                                              0.5%                No Ownership / Validity
                                                                                                  Infringement
                               559 cases                                                          Fair Use Defense
                                                                                                  No Fair Use Defense
                                                                                                  License or Equitable Defense
                                                           82.1%                                  No Infringement
         Default Judgment                                        1.1% 1.8%                        No License or Equitable Defense


                               1,536
                               cases


                                                                98.6%
         Judgment on the                                                2.0% 13.7%
         Pleadings
                                                                              7.8%

                               51 cases
                                                       56.9%                  7.8%
                                                                              2.0%
                                                                            17.6%

         Summary Judgment                                       5.9%     8.9%
                                                                             9.8%
                                                       41.3%
                               900 cases
                                                                              35.4%

                                                           11.0% 3.7%5.1%
         Trial                                                  6.8%      20.5%
                                                        35.8%                9.1%

                               176 cases
                                                        5.1%
                                                         9.7%
                                                          4.0%
                                                                           70.5%
         JMOL                                                   7.7%
                                                                             30.8%
                                                       30.8%
                               13 cases


                                                        7.7%               30.8%
                                                               7.7%




Note: percentage labels for small slices may be omitted in this and the previous figure.
Charts in this section reflect findings made between January 1, 2009, and September 30, 2016.
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     Figure 18: Table of findings and judgments, cases terminated Jan. 1, 2009 to Sept. 30, 2016)

                                                            Consent        Default      Judgment      Summary           Trial      JMOL
                                                           Judgment       Judgment        on the      Judgment
                                                                                        Pleadings
              Ownership / Validity                          112 cases        27 cases       1 cases        80 cases     36 cases    4 cases
              No Ownership / Validity                         3 cases         8 cases       7 cases        88 cases     16 cases    4 cases
              Fair Use Defense                                1 cases         2 cases       4 cases        46 cases      7 cases
              No Fair Use Defense                             2 cases                       1 cases        33 cases     17 cases    1 cases
              Infringement                                  459 cases     1,514 cases       4 cases       319 cases    124 cases
              No Infringement                                22 cases        17 cases      29 cases       372 cases     63 cases    4 cases
              License or Equitable Defense                    2 cases         1 cases       9 cases        99 cases      9 cases    1 cases
              No License or Equitable Defense                 1 cases                                      53 cases     12 cases    1 cases




     Figure 19: Case resolutions, in cases terminated Jan. 1, 2009 to Sept. 30, 2016)

                                                                                           11,774 cases
                                          12K                                                 65.4%



                                          10K


                                          8K
                             # of cases




                                          6K
                                                                        3,769 cases
                                          4K                               20.9%

                                                                                                                 1,973 cases
                                                                                                                    11.0%
                                          2K
                                                    478 cases
                                                      2.7%
                                          0K
                                                Claim Defendant    Claimant Win              Likely             Procedural
                                                      Win                                  Settlement
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Figure 20: Fair use findings, in cases terminated Jan. 1, 2009 to Sept. 30, 2016)
                     C.D.Cal.                               52.0%                                      48.0%                       Finding Type
                     S.D.N.Y.                  33.3%                                 66.7%
                                                                                                                                      Fair Use Defense
                                                                                                                                      No Fair Use Defense
                     N.D.Cal.            71.4%            28.6%
                      N.D.Ga.        60.0%       40.0%
                      S.D.Fla.           75.0%
                       D.Ariz.   66.7%
                     D.Mass.                     100.0%
                        D.Md.                    100.0%
                    E.D.Mich.                    100.0%
                       D.Nev.                    100.0%
                     E.D.N.Y.
                    E.D.Tenn.                    100.0%
                     M.D.Fla.                100.0%
                     S.D.Cal.                100.0%
                     S.D.Tex.                100.0%
                     W.D.Tex.                100.0%
                   W.D.Wash.
                     W.D.Wis.                100.0%

                                 0       2            4     6       8   10   12        14    16   18           20   22   24   26
                                                                                  Findings




   Legal Analytics show how differently the various counts and defenses at issue in copyright
   litigation are resolved.

   For example, fair use is overwhelmingly adjudicated on summary judgment; when the issue
   reaches trials more often than not the result is a finding of “no fair use.” The Central District
   of California and the Southern District of New York have issued findings in more cases on the
   issue of fair use than any other courts, although S.D.N.Y. has found fair use more often than
   C.D.Cal.

   The majority of infringement cases finding infringement do so as a result of default, few
   other findings are made as a result of default. While 12.1% of infringement cases finding
   infringement happen via summary judgment, 4.7% happen at trial.

   When ownership / validity is successfully contested (resulting in a finding of no ownership /
   invalidity), it happens at summary judgment in 70.4% of the cases, but at trial in only 12.8%
   of the cases. More often than not, findings of ownership / validity happen as a result of
   consent judgment (50.0%).

   Licensing and other equitable defenses are overwhelmingly determined by summary judgment
   (more than 80% of the findings regardless of direction) and only sometimes at trial (7.4% for
   a positive findings and 17.9% for a negative one). Judgments on the pleadings are findings of
   no license or equitable defense about 56.9% of the time.

   About a two thirds of cases end with settlement. More strikingly, claimant wins are about 10
   times as likely as claim defendants wins (20.9% vs 2.7%), driven largely by the number of
   default judgments.
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                                                             Timing

     Figure 21: Preliminary injunctions granted from Jan.    Understanding timing data is one of the best uses of Legal
     1, 2009 to Sept. 30, 2016
                                                             Analytics - knowing the probability and distribution of
                                               Preliminary   when an injunction will be decided informs better decision
                                                Injunction   making: clients can know when their bills will rise and fall,
                                           0                 lawyers can calendar their schedules with greater confidence,
                                                             and budgets accurately account for the costs.
                                                   1.7
                                           2
                                                             These charts show the median time to an event (the middle
                                                             number between the shaded boxes). The median represents
                                           4       3.9       the middle value, where as many took longer as shorter,
                                                             and serves as useful single-figure average. The median
                                                             time to temporary restraining order (TRO) is 8 days, for
                                           6                 a preliminary injunction 3.9 months, and for permanent
                                                             injunction 14.4 months.
                 Time to remedy (months)




                                           8
                                                   8.7       Where the median lies in relation to the edges of the boxes
                                                             also provides useful data.
                                       10
                                                             For example in looking at the preliminary injunction chart,
                                                             the median of 3.9 months lies much closer to the top of
                                       12
                                                             the box (1.7 months) than the bottom (8.7) months. This
                                                             means that the odds of getting a preliminary injunction are
                                       14                    greatest early on: fastest half of injunctions are issued in less
                                                             than about 4 months while the next quarter of injunctions
                                                             are spread out over a more than 4.5 months, and the final
                                       16                    quarter over even more time.

                                                             A savvy practitioner then knows to counsel expecting a
                                       18
                                                             decision on preliminary injunction in about 3-4 months
                                                             (knowing that the odds draw longer each day afterwards)
                                       20                    with only a 25% chance of the decision taking longer than
                                                325 cases    8-9 months.




     Note: Case timing reflects cases reaching an injunction, TRO, or trial (respectively) between January 1, 2009 and
     September 30, 2016. Only one time per case per type included (the earliest).
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Figure 22: Permanent injunctions granted from Jan.   Figure 23: Temporary restraining orders granted from
1, 2009 to Sept. 30, 2016                            Jan. 1, 2009 to Sept. 30, 2016

                                       Permanent                                    Temporary Restraining
                                       Injunction                                          Order
                                   0                                            0
                                                                                               2
                                                                                5
                                   5
                                           7.3                                                 8
                                                                            10
                               10
                                                                            15
                                          14.4
                               15
                                                                            20




                                                        Time to remedy (days)
         Time to remedy (months)




                                                                                              22
                               20
                                                                            25

                                          24.0
                               25                                           30


                                                                            35
                               30

                                                                            40
                               35
                                                                            45
                               40
                                                                            50

                               45                                                         192 cases

                               50
                                       2,996 cases
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                                                                  Damages
             Few of the copyright cases filed ever reach damages. Of 17,994 cases terminated between 2009 and 2016 Q3,
             23.6% have reached a merits decision. Less than half of those generated an award of compensatory damages
             (9.0% of the cases filed), but only about 1.5% were not via default or consent judgments.

             Default judgments ($608m, 41.8% of damages awarded) and consent judgments ($509m, 35.0% ) dominate
             damages for copyright infringement. Juries have awarded more damages than judges ($245m to $92m).

             Top parties winning damages are mainly movies and entertainment (Disney, Twentieth Century Fox,
             Columbia Pictures, Warner Brothers, Universal, Paramount Pictures, etc. along with one software company
             (Quantlab).

             Excluding default and and consent judgments, the list of top winners includes Oracle and Foundry Networks
             (later acquired by Brocade), plus music labels (including many EMI entities).

             The public performance license damages category has produced few and small awards; however, the theory of
             actual damages and infringer’s profits has garnered about $27.3m from judges and just under $156.7m from
             juries.


                          Cases terminated 2009 - 2016Q3                    17,994
                          Cases terminated 2009 - 2016Q3 on the merits      4,247                23.6% of terminated cases
                          Cases terminated 2009 - 2016Q3 on the merits      1,636                9.0% of terminated cases
                          with compensatory damages awarded
                          Cases terminated 2009 - 2016Q3 on the merits      264                  1.5% of terminated cases
                          with compensatory damages awarded (other
                          than via consent or default judgment)


     Figure 24: Damages by judgment type (damages awarded Jan. 1, 2009 to Sept. 30, 2016)

                                                                            Judgment Type
                                 $700M                           1,349 cases
                                                              41.8% of damages
                                                                    $608M
                                 $600M        261 cases
                                          35.0% of damages
                                               $509M
               Damages awarded




                                 $500M

                                 $400M
                                                                                                                       88 cases
                                 $300M                                                                             16.8% of damages
                                                                                                                        $245M

                                 $200M                                                     184 cases
                                                                                        6.3% of damages
                                 $100M                                                       $92M

                                  $0M
                                         Consent Judgment    Default Judgment               Judge                    Jury Trial
     Note: Lex Machina considers as “Judge” damages awarded by judicial action (e.g. at summary judgment, judgment as a matter of law,
     judgment on the pleadings, etc.).
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Figure 25: Top parties by damages won (damages awarded Jan. 1, 2009 to Sept. 30, 2016, parties with $100m or more)
         Party Name                                Total Damages          Cases                                                Judgment Type
         Disney Enterprises, Inc.                  $296,294,750           50                                                     Consent Judgment
         Twentieth Century Fox Film Corporation    $287,133,500           20                                                     Default Judgment
         Columbia Pictures Industries, Inc.        $285,318,000           11                                                     Judge
         Warner Bros. Entertainment Inc.           $219,663,000           33
         Universal City Studios Productions LLLP   $198,706,800           11
         Paramount Pictures Corporation            $128,589,556           11
         Universal City Studios LLLP               $114,081,800           7
         Quantlab Financial, LLC                   $114,000,000           1
         Quantlab Technologies Ltd. (BVI)          $114,000,000           1
         Tristar Pictures Inc                      $110,000,000           1
                                                                                   $0M      $100M      $200M           $300M
                                                                                             Damages awarded




Figure 26: Top parties by damages won (excluding default and consent judgments, damages awarded Jan. 1, 2009 to Sept. 30, 2016,
parties with $25m or more)
                                                     Total damages                                                             Judgment Type
           Party Name                                (excl. C/D jmnts.)    Cases                                                 Judge
           Oracle Corporation                        $76,780,000           1                                                     Jury Trial
           Foundry Networks, LLC                     $60,000,000           1
           Oracle International Corporation          $38,390,000           1
           Capitol Records, Inc.                     $30,649,562           7
           Virgin Records America, Inc.              $30,587,062           6
           Synopsys, Inc.                            $30,400,000           1
           Caroline Records, Inc.                    $29,870,062           2
           BMG Rights Management (US) LLC            $25,002,250           2
                                                                                    $0K $20,000K $40,000K $60,000K
                                                                                              Damages awarded




Figure 27: Table of damages by judgment type (damages awarded Jan. 1, 2009 to Sept. 30, 2016)
                                                               Consent                Default
         Damages Type                                         Judgment              Judgment                 Judge              Jury Trial
                                                                  $740,016           $60,411,763         $11,563,842             $3,292,275
         Statutory Damages (Copyright)                            21 cases             637 cases            92 cases               16 cases


                                                               $25,746,500          $373,030,938         $42,548,109            $51,696,250
         Statutory Damages - Willful (Copyright)                  17 cases             476 cases            54 cases               25 cases


                                                                $1,757,003           $31,912,104         $27,328,247           $156,652,899
         Actual Damages & Infringer's Profits                     14 cases              89 cases            27 cases               40 cases


                                                                     $9,473              $38,766
         Public Performance License (ß 504d)                        3 cases              2 cases


                                                              $480,316,450          $142,482,950         $10,673,426            $32,892,522
         Other / Mixed Damage Types                              210 cases             175 cases            20 cases               17 cases


                                                              $487,044,283          $196,592,286        $149,026,974           $189,545,420
         (Combined non-statutory CR damages)                     245 cases           1,247 cases           391 cases               56 cases


                                                                $4,931,771           $21,099,231         $88,295,995
         Attorneys' Fees                                          28 cases             956 cases           248 cases


                                                                   $29,586            $1,059,235         $22,729,306
         Costs                                                    11 cases             663 cases           258 cases


Note: Compensatory damages exclude costs and fees.
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                                                                                                              File Sharing
     Figure 28: Top districts by cases filed Jan. 1, 2009 to Sept. 30, 2016
                                     Other districts                                                                                                                                                               2,022 cases

                                                   N.D.Ill.                                                                                                         1,299 cases

                                                   D.N.J.                                                               721 cases

                                                  D.Colo.                                                            691 cases

                                                  E.D.Pa.                                                            685 cases

                                                   D.Md.                                                           652 cases

                                               M.D.Fla.                                                  542 cases

                                                  E.D.Va.                                          422 cases

                                               S.D.N.Y.                                         412 cases

                                           E.D.Mich.                                           407 cases

                                              S.D.Ohio                                         391 cases

                                               N.D.Cal.                                  319 cases

                                                    D.Or.                                318 cases

                                               E.D.Cal.                                 296 cases

                                              N.D.Ohio                              276 cases

                                               S.D.Fla.                             259 cases

                                                                0         200             400            600             800        1000           1200                  1400         1600             1800     2000     2200
                                                                                                                                                  Cases


        File sharing cases are defined as copyright cases involving claims of infringement for
        BitTorrent/P2P file sharing brought against John Doe(s), anonymous defendants, their IP
        addresses, or Internet Service Providers (ISP).


     Figure 29: Top districts over time, by cases filed Jan. 1, 2009 to Sept. 30, 2016
                                                                                                                                                          139                                                   District
                               140
                                                                                                                                                                                                                   D.Colo.
                                                                                                                                                                                                                   D.Md.
                                                                                                                                                                                                                   D.N.J.
                               120                                                                                                                                                  114                            E.D.Pa.
                                                                                                                                                                         109
                                                                                                                                                                                                                   N.D.Ill.

                               100                                                                                      98                 97                       96
                                                                                                         92
                                                                                                                              89
                                                                                                                                    85
                                                                                                                                                                               89
                 Cases filed




                                                                                                                                                  78                                         83
                                80                                                                                                                        74
                                                                                                                        72    79                                    72
                                                                                                         77                                69
                                                                                                                                                72             70
                                                                                                                         70                                                         63
                                60                                                                 54
                                                                                                                                                                                           57
                                                                                                                                                                           60
                                                                                                                                                          58
                                                                                                    53        51                                  55
                                                            43                                                46                    50                              50
                                40                                       36    3737                                                         37 38                              35
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                                                                               29         33                                                                                                      33     27
                                                                    23    30                                                         28 32
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                                                                                                    18             27                                                                19 27        19
                                20                          14                  23                                                                                             22
                                                                                                         21
                                                                          17                                    10                                                                                        15
                                       9                                                      12                                                                                    16     16
                                              6             5                                                                                                        11                                  3
                                 0    5    3                                              7              7
                                                                     5              3               1                          1                           4                                       1      2
                                     `11 Q1        `11 Q3        `12 Q1       `12 Q3           `13 Q1         `13 Q3 `14 Q1              `14 Q3        `15 Q1            `15 Q3          `16 Q1        `16 Q3
                                                                                                               Quarter / Year
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Figure 30: Recent top districts by cases filed Jan. 1, 2016 to Sept. 30, 2016

                              E.D.Cal.                                                                                                             168 cases

                                N.D.Ill.                                                                                               152 cases

                        Other districts                                                                                  125 cases

                                D.N.J.                                                         85 cases

                              S.D.Cal.                                                         84 cases

                                 D.Or.                                                        82 cases

                              N.D.Cal.                                             70 cases

                              S.D.N.Y.                                        60 cases

                               D.Colo.                               50 cases

                                 D.Md.                             46 cases

                              S.D.Tex.                         40 cases

                              N.D.N.Y.                    34 cases

                               E.D.Pa.                   33 cases

                               E.D.Va.                  31 cases

                                D.Ariz.               28 cases

                              M.D.Fla.              24 cases

                                           0   20          40             60             80          100           120         140       160           180
                                                                                                   Cases
Figure 31: Top plaintiffs, by cases filed Jan. 1, 2009 to Sept. 30, 2016
                 1       Malibu Media, LLC                                                                                                             5,878 cases
                 2       Dallas Buyers Club, LLC                                                320 cases
                 3       Patrick Collins, Inc.                                                 252 cases
                 4       Cobbler Nevada, LLC                                                   232 cases
                 5       Manny Film LLC                                                        213 cases
                 6       AF Holdings LLC                                                       206 cases
                 7       LHF Productions, Inc.                                                 198 cases
                 8       Good Man Productions, Inc.                                           160 cases
                 9       TCYK, LLC                                                            143 cases
                 10      Plastic the Movie Limited                                            133 cases
                 11      Voltage Pictures, LLC                                                110 cases
                 12      K-BEECH, INC.                                                        77 cases
                 13      Clear Skies Nevada, LLC                                              73 cases
                 14      Ingenuity 13 LLC                                                     68 cases
                 15      Killer Joe Nevada, LLC                                               65 cases
                                                                                          0K        1K        2K         3K     4K        5K         6K        7K
                                                                                                                              Cases


Figure 32: Recent top plaintiffs, by cases filed Jan. 1, 2016 to Sept. 30, 2016
                   1       Malibu Media, LLC                                                                                                            660 cases
                   2       LHF Productions, Inc.                                                              198 cases
                   3       Criminal Productions, Inc.                                             60 cases
                   4       QOTD Film Investment Ltd.                                             42 cases
                   5       Fathers & Daughters Nevada, LLC                                       39 cases
                   6       PTG Nevada, LLC                                                      35 cases
                   7       CELL Film Holdings, LLC                                              34 cases
                   8       Dallas Buyers Club, LLC                                             21 cases
                   9       Clear Skies Nevada, LLC                                             16 cases
                   10      ELargo Holdings, LLC                                               14 cases
                   11      Cobbler Nevada, LLC                                                8 cases
                   12      ME2 Productions, Inc.                                              5 cases
                           September Productions, Inc.                                        5 cases
                           Survivor Productions, Inc.                                         5 cases
                   15      Glacier Films (USA), Inc.                                          4 cases
                                                                                          0        100       200    300       400   500        600      700     800
                                                                                                                              Cases
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     Figure 33: Top law firms representing plaintiffs, by cases filed Jan. 1, 2009 to Sept. 30, 2016

              1      Maddox Hoppe Hoofnagle & Hafey                                                                                        1,106 cases
              2      Fiore & Barber                                                                                    690 cases
              3      Nicoletti & Associates                                                                          672 cases
              4      Schulz Law                                                                                   627 cases
              5      Kotzker Law Group                                                                     495 cases
              6      The James Law Firm                                                                    479 cases
              7      Lipscomb, Eisenberg & Baker                                                           477 cases
              8      Heit Erlbaum                                                                     390 cases
              9      Hughes Socol Piers Resnick & Dym                                                379 cases
              10     William E. Tabot                                                              335 cases
              11     Media Litigation Firm                                                         333 cases
              12     Crowell Law                                                                   318 cases
              13     Prenda Law                                                               236 cases
              14     IP Enforcement Law Group                                           150 cases
              15     Takiguchi & Vogt                                                  120 cases
                                                                                0       200         400        600   800           1000    1200 1400
                                                                                                                  Cases




     Figure 34: Top law firms representing plaintiffs, by cases filed Jan. 1, 2016 to Sept. 30, 2016

              1      Heit Erlbaum                                                                                                           207 cases
              2      The James Law Firm                                                                        103 cases
              3      Hughes Socol Piers Resnick & Dym                                                          99 cases
                     Pillar Law Group                                                                          99 cases
              5      Crowell Law                                                                          84 cases
              6      Maddox Hoppe Hoofnagle & Hafey                                                    76 cases
              7      Media Litigation Firm                                                      53 cases
              8      James S Davis                                                         40 cases
              9      Lowenberg Law Firm                                                  32 cases
              10     Fiore & Barber                                                     29 cases
              11     Kercsmar & Feltus                                                  28 cases
              12     Rocky Mountain Thunder Law Firm                                    26 cases
              13     Brown & Kannady                                                   24 cases
                     Fee & Jeffries                                                    24 cases
                     IP Enforcement Law Group                                          24 cases
                     Lowe Graham Jones                                                 24 cases
                     William E. Tabot                                                  24 cases

                                                                                0             50           100        150             200            250
                                                                                                                  Cases


     Figure 35: Findings and judgments (cases terminated Jan. 1, 2009 to Sept. 30, 2016)
                                                             Consent          Default           Judgment             Summary              Trial
                                                            Judgment         Judgment             on the             Judgment
                                                                                                Pleadings
                    Ownership / Validity                        34 cases            5 cases                               1 cases
                    No Fair Use Defense                                                                                   1 cases
                    Infringement                                49 cases       254 cases              1 cases             3 cases          1 cases
                    No Infringement                                              1 cases                                  1 cases
                    No License or Equitable Defense                                                                       1 cases
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Figure 36: Case resolutions (cases terminated Jan. 1, 2015 to Sept. 30, 2016)
                                                                                 7,984 cases
                                                                                                             Summary (Case Resolution)
                                                                                    90.4%                      Claim Defendant Win
                                             8K                                                                Claimant Win
                                                                                                               Likely Settlement
                                                                                                               Procedural
                                             6K


                          id
                                             4K



                                             2K

                                                                    362 cases                   484 cases
                                                     2 cases          4.1%                        5.5%
                                             0K       0.0%
                                                      Claim       Claimant Win     Likely      Procedural
                                                  Defendant Win                  Settlement




Figure 37: Top parties by damages awarded (damages awarded Jan. 1, 2009 to Sept. 30, 2016), parties with $50k or more



         Party Name                                                       Total Damages        Cases                                                     Judgment Type
         Malibu Media, LLC                                                $5,088,124           118                                                         Consent Judgment
         Zambezia Film (Pty.) Ltd                                         $330,750             3                                                           Default Judgment
         Patrick Collins, Inc.                                            $174,500             7                                                           Judge
         AF Holdings LLC                                                  $166,500             6
         CP Productions, Inc.                                             $150,000             1
         Cobbler Nevada, LLC                                              $126,250             20
         Good Man Productions, Inc.                                       $100,000             4
         Dallas Buyers Club, LLC                                          $76,000              24
         Manny Film LLC                                                   $67,407              4
         Purzel Video GmbH                                                $65,250              9
         Voltage Pictures, LLC                                            $53,750              13
         Glacier Films (USA), Inc.                                        $51,250              7
                                                                                                            $0M $1M       $2M    $3M    $4M       $5M
                                                                                                                         Damages awarded




Figure 38: Damages by judgment type (damages awarded Jan. 1, 2009 to Sept. 30, 2016)
                                                                                                Judgment Type

                                             $8M                                                    254 cases
                                                                                                88.9% of damages
                                                                                                      $7.0M


                                             $6M
                           Damages awarded




                                             $4M



                                             $2M                   21 cases
                                                               9.3% of damages                                                          8 cases
                                                                    $0.7M                                                           1.8% of damages
                                             $0M                                                                                         $0.1M

                                                          Consent Judgment                     Default Judgment                          Judge
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            File sharing cases - those against anonymous internet defendants for
            P2P or bittorrent sharing of copyrighted material - follow different
            dynamics than other copyright cases. For example, more than 90%
            of file sharing cases terminate with settlement.


         File sharing cases - those against anonymous internet defendants for P2P or bittorrent sharing of
         copyrighted material - follow different dynamics than other copyright cases.

         File sharing cases are concentrated most highly in the Northern District of Illinois (1,299 cases since
         2009), followed by the District of New Jersey (721 cases) and the District of Colorado (691 cases).
         In 2016, the Eastern District of California has risen to become the favored district (with 168 cases in
         the first three quarters of 2016).

         Malibu Media, an erotic website, leads the list of plaintiffs with 5,878 cases, more than 15 times as
         many cases as the next most litigious plaintiff. Other plaintiffs include movie production companies
         and music / recording companies. Although Malibu Media has filed fewer new cases in 2016 than in
         previous years, it remains the leading filer of file sharing cases.

         Maddox, Hoppe Hoofnagle & Hafey, Nicoletti & Associates, Schulz Law, Fiore & Barber, the
         Kotzker Law Group, Lipscombe, Eisenberg & Baker, and William Tabot all represent Malibu media
         and lead among plaintiff firms in file sharing cases.

         Prenda Law, sanctioned for its antics including “cottage-industry lawsuits,” misrepresentation, fraud
         on the court, and “blatant lies” * - also appears among the top plaintiffs.

         These cases are nearly frequently decided on default or consent judgments; summary judgments are
         rare and trials even more rare. Malibu Media has had the only infringement trial in a file sharing case
         since 2009.

         Unsurprisingly, over 90% of file sharing cases settle - a much higher figure than for other copyright
         cases (65.4%).

         Top winners of damages awards include movie production companies.

         A majority of damages awarded in file sharing cases comes from default judgments ($7.0m in default
         judgments vs $.7m in consent judgments and only about $100,000 from judges).

         * Sanctions Order, Judge Wright, Case No. 2:12-cv-08333 Dkt. 130 (N.D. Cal., May 6, 2013).
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Figure 39: Table of damages by judgment type (damages awarded Jan. 1, 2015 to Sept. 30, 2016)
                                                                          Consent            Default
                 Damages Type                                            Judgment          Judgment                  Judge
                                                                              $81,500        $3,183,357                $1,500
                 Statutory Damages (Copyright)                                4 cases         174 cases               2 cases


                                                                             $364,250        $2,901,924             $112,500
                 Statutory Damages - Willful (Copyright)                      4 cases          72 cases              1 cases


                                                                              $53,900            $22,750               $7,000
                 Other / Mixed Damage Types                                   7 cases            4 cases              1 cases


                                                                             $229,381            $894,688            $22,516
                 (Combined non-statutory CR damages)                         14 cases           225 cases            7 cases


                                                                             $167,981            $819,199            $12,195
                 Attorneys' Fees                                              6 cases           223 cases            4 cases


                                                                               $7,500             $52,739              $3,321
                 Costs                                                        1 cases            98 cases             5 cases
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                       Lex Machina’s Data, Methodology, and Terminology
            This report draws on data from Lex Machina’s proprietary intellectual property litigation database.
            Although some of our data is derived from litigation information publicly available from PACER (the
            federal court system’s document website), Lex Machina applies additional layers of intelligence to bring
            consistency to, and ensure the completeness of, the data. Beyond the automation, key areas of Lex
            Machina’s data are either human-reviewed or hand-coded by a dedicated team of attorneys to ensure
            accuracy.
            		
            Cases are first identified as copyright based on the primary filing codes Nature of Suit (NOS) 820 and
            Cause of Action codes for copyright Infringement and then verified; additional cases with copyright claims
            are found from cases filed as NOS 830 (patent) and NOS 840 (trademark). Terminated cases are coded
            for injunctive relief, merits decisions on the claims brought and defenses raised, and damages awarded
            for copyright infringement violations. Damages may be compensatory (including statutory damages,
            statutory damages for willful infringement, actual damages & infringer’s profits, and public performance
            licenses under § 504d) or non-compensatory (including attorneys’ fees, costs, and prejudgment interest).

            Lex Machina defines a copyright case to be a case with one or more claims involving copyright
            infringement brought under the U.S. Copyright Act, 17 U.S.C. § 101. This definition excludes cases with
            only state claims of infringement, Digital Millennium Copyright Act claims, Visual Artists Rights Act
            claims, or 47 U.S.C. § 605 / 553 cable service claims.

            A copyright finding is defined as a court-enforceable finding regarding one of the claims or defenses listed
            below. Findings may also include negatives like “No Fair Use Defense,” when such is found in a granted
            order.
            •        Copyright Infringement – Activity of copyright infringement including indirect infringement
            pursuant to the Copyright Act, 17 U.S.C. § 101.
            •        Copyright Ownership / Validity – Proof that the party enforcing the copyright owns the right to
            do so and that the copyright is valid.
            •        License or Equitable Defense – A defense against a claim of copyright infringement involving
            license / authorized use, forfeiture / abandonment, first-sale doctrine, or laches.
            •        Fair Use Defense – An affirmative defense permitting the limited use of a protected copyright,
            including statutory fair use, nominative use, comparative advertising, and parody, or independent creation
            or innocent infringement.

            The file sharing tag targets the phenomenon of mass copyright litigation for file sharing (often movies).
            File sharing cases are defined as copyright cases involving claims of infringement for BitTorrent/P2P file
            sharing brought against multiple John Doe defendants or anonymous defendants’ or their IP addresses or
            Internet Service Providers (ISP).

            Lex Machina’s data is focused on the U.S. District Courts and does not include appeals or modifications of
            judgments on appeal.

            This report generally covers copyright cases filed between Jan. 1, 2009 and Sept. 30, 2016 in first three
            sections on copyright versus file sharing case, courts, parties and law firms; cases terminated between Jan.
            1, 2009 and Sept. 30, 2016 in the sections on Findings, Judgments and Resolutions, and Timing;, and
            cases with damages granted between Jan. 1, 2009 and Sept. 30, 2016 in the Damages section.
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                              Using Boxplots to Understand Timing

     Lex Machina’s analytics use a data visualization known as the boxplot to convey information
     about the timing of significant events in a case. Knowing how to interpret this data gives you
     an advantage when it comes to strategy, budgeting, and setting expectations, as well as in other
     decisions that involve case timing.

     Consider a newly filed case: Regardless of whether you’re an outside counsel, say, trying to
     determine how large of a flat fee to charge or trying to make sure two trials don’t overlap, or
     an inside counsel estimating legal spend and evaluating a firm’s proposed budget, case timing
     matters. Knowing the lower and upper bounds of how long it may reasonably take the case to
     reach injunction can give both kinds of counsel a strategic advantage over opponents lacking
     such nuanced information. Moreover, knowing the best and worst case scenarios for timing,
     or exactly how likely it is that a case will be active in 6 months enables more far-sighted
     contingency planning.

     A boxplot summarizes a series of data points to help you understand the shape, or distribution of
     the values in those points. The boxplot is drawn based on five numbers: the median, the upper
     and lower quartiles, and the whiskers for a distribution.




     Paying attention to these key parts of the plot will help you quickly understand what you need
     to know. Although boxplots provide a wealth of information, the four observations below, in
     order from simplest onwards, are all one needs to easily grasp the significance of a boxplot.

     Median: the middle dividing line of the box splits the data points evenly so that 50% fall to
     either side. It’s a form of average that gives a single number representation of what to reasonably
     expect.

     Box bounds: the box encloses the middle-most 50% of the datapoints (from the 25th
     percentile to the 75th), with 25% of the datapoints falling outside to either side. This makes the
     box a good representation of the range one can reasonably expect.

     Box compressed or elongated: a more compressed box means that more datapoints fall into a
     smaller range of time and therefore are more consistent; in contrast a longer box means that the
     datapoints are spread out over a wider time period and are therefore less predictable.

     Whiskers: Whiskers are drawn to show the outside bounds of reasonable expectation, beyond
     which datapoints are considered outliers.1

     1        By statistical convention, boxplots define outliers as points beyond more than 1.5 times the width of the box
     (sometimes called the “interquartile range”).
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